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                              EXHIBIT 1
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                                Exhibit
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 ·1

 ·2· · · · IN THE UNITED STATES DISTRICT COURT

 ·3· · · · · · SOUTHERN DISTRICT OF FLORIDA

 ·4

 ·5· · ALEKSEJ GUBAREV, XBT HOLDING· ·)Case No.
 · · · S.A., AND WEBZILLA, INC.,· · · )17-CV-60426-
 ·6· · · · · · · · · · · · · · · · · ·)UU
 · · · · · · · · · Plaintiffs,· · · · )
 ·7· · · · · · · · · · · · · · · · · ·)
 · · · · · · · ·vs.· · · · · · · · · ·)
 ·8· · · · · · · · · · · · · · · · · ·)
 · · · BUZZFEED, INC. AND BEN· · · · ·)
 ·9· · SMITH,· · · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · · · ·)
 10· · · · · · · · Defendants.· · · · )
 · · ·--------------------------------)
 11

 12

 13· · · · · · ·DEPOSITION OF KEN BENSINGER

 14· · · · · · · · ·New York, New York

 15· · · · · · Wednesday, February 7, 2018

 16

 17

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 20

 21

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 23

 24· ·Reported by:
 · · ·TAMI H. TAKAHASHI, RPR, CSR
 25· ·JOB NO. J1400361
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 ·1
 ·2· ·K E N· ·B E N S I N G E R,· ·called as a
 ·3· · · ·witness, having been duly sworn by a
 ·4· · · ·notary public, was examined and testified
 ·5· · · ·as follows:
 ·6· · · · · · · · · · EXAMINATION
 ·7· ·BY MR. FRAY-WITZER:
 ·8· · · · Q.· ·Good morning.
 ·9· · · · A.· ·Good morning.
 10· · · · Q.· ·If you would first state your name
 11· ·for the record.
 12· · · · A.· ·My name is Ken Bensinger.
 13· · · · Q.· ·And would you spell your last name,
 14· ·please.
 15· · · · A.· ·B, as in boy, E-N-S-I-N-G-E-R.
 16· · · · Q.· ·Have you ever been deposed before?
 17· · · · A.· ·No, I have not.
 18· · · · Q.· ·So I'd like to explain to you
 19· ·up-front sort of what the ground rules are
 20· ·for a deposition because they can be a little
 21· ·unusual.
 22· · · · · · ·I will ask questions and obviously
 23· ·I'm going to hope that we get answers.· Is
 24· ·that acceptable?
 25· · · · A.· ·Yes.
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 ·1· · · · · · · CONFIDENTIAL - Bensinger
 ·2· ·weather or the holiday season, I cannot
 ·3· ·recall anything more.
 ·4· · · · Q.· ·Did anyone else come into the
 ·5· ·conference room during any of these
 ·6· ·conversations?
 ·7· · · · A.· ·No.
 ·8· · · ·


 10· · · · A.·
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 ·1· · · · · · · CONFIDENTIAL - Bensinger
 ·2· ·




                                        .
 11· · · · · · ·
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 ·1· · · · · · · CONFIDENTIAL - Bensinger
 ·2· ·




 14· · · ·




 18· · · · Q.· ·Have you -- prior to this
 19· ·litigation have you had any conversations
 20· ·with anyone concerning Alex Gubarev?
 21· · · · A.· ·Can you tell me what you mean by
 22· ·"prior to this litigation" as a time frame.
 23· · · · Q.· ·This litigation was filed February
 24· ·of 2018 (sic).· Prior to your knowing of the
 25· ·existence of the litigation, did you have any
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 ·1· · · · · · · CONFIDENTIAL - Bensinger
 ·2· ·conversations with anyone about Alex Gubarev?
 ·3· · · · A.· ·Not that I remember.
 ·4· · · · · · ·MR. BLACK:· Do you mean February
 ·5· · · · 2017?
 ·6· · · · · · ·THE WITNESS:· No.
 ·7· · · · · · ·MS. BOLGER:· 2017.· You said 2018.
 ·8· · · · · · ·MR. FRAY-WITZER:· 2017, thank you.
 ·9· · · · · · ·MR. BLACK:· Sorry to interrupt.
 10· · · · · · ·MR. FRAY-WITZER:· No, I appreciate
 11· · · · the correction.
 12· · · · A.· ·I think there was a letter prior to
 13· ·the filing of suit.
 14· ·BY MR. FRAY-WITZER:
 15· · · · Q.· ·And that's fair.· Let me -- let me
 16· ·say this:· Prior to receiving or seeing a
 17· ·copy of a demand letter from Mr. Gubarev,
 18· ·have you ever had had any conversations about
 19· ·Mr. Gubarev?
 20· · · · A.· ·Not that I can recall.
 21· · · · Q.· ·Had you ever had any conversations
 22· ·about Webzilla?
 23· · · · A.· ·Not that I can recall.
 24· · · · Q.· ·Had you ever had any conversations
 25· ·about XBT?
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 ·1· · · · · · · CONFIDENTIAL - Bensinger
 ·2· · · · A.· ·Not that I can recall.
 ·3· · · · Q.· ·After you received a copy of the
 ·4· ·dossier did you do anything to investigate or
 ·5· ·report on Alex Gubarev?
 ·6· · · · A.· ·No.
 ·7· · · · Q.· ·Did you do anything to investigate
 ·8· ·or report about Webzilla?
 ·9· · · · A.· ·No.
 10· · · · Q.· ·Did you do anything to investigate
 11· ·or report about XBT?
 12· · · · A.· ·No.
 13· · · · · · ·MR. FRAY-WITZER:· We can break for
 14· · · · lunch.· That's a good spot I think.
 15· · · · · · ·MR. BLACK:· That's great.
 16· · · · · · ·(Time noted:· 12:31 p.m.)
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 ·1
 ·2· · · · · · · ·C E R T I F I C A T E
 ·3· ·STATE OF NEW YORK· · )
 ·4· · · · · · · · · · · · : ss.
 ·5· ·COUNTY OF NEW YORK· ·)
 ·6
 ·7· · · · · · ·I, TAMI H. TAKAHASHI, a Notary
 ·8· · · · Public within and for the State of New
 ·9· · · · York, do hereby certify:
 10· · · · · · ·That KEN BENSINGER, the witness
 11· · · · whose deposition is hereinbefore set
 12· · · · forth, was duly sworn by me and that
 13· · · · such deposition is a true record of the
 14· · · · testimony given by the witness.
 15· · · · · · ·I further certify that I am not
 16· · · · related to any of the parties to this
 17· · · · action by blood or marriage, and that I
 18· · · · am in no way interested in the outcome
 19· · · · of this matter.
 20· · · · · · ·IN WITNESS WHEREOF, I have hereunto
 21· · · · set my hand this 12th day of February
 22· · · · 2018.
 23
 24· · · · · · · · · · · ·_____________________
 25· · · · · · · · · · · ·TAMI H. TAKAHASHI
